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AO 121 (Rev. 06/16)

 

TO:
Register of Copyrights REPORT ON THE
U.S. Copyright Office FILING OR DETERMINATION OF AN
101 Independence Ave. S.E. ACTION OR APPEAL

Washington, D.C. 20559-6000 REGARDING A COPYRIGHT

 

 

 

 

In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):

 

COURT NAME AND LOCATION

vl] ACTION

C APPEAL

 

DOCKET NO.
2:20-cv-00106-MLP

DATE FILED
1-23-2020

 

 

U.S. District Court - Western District of Washington
700 Stewart Street, Suite 2310, Seattle, WA 98101

 

PLAINTIFF

DEFENDANT

RAY HENDERSON MUSIC CO., INC., AMAZON.COM, INC., AMAZON DIGITAL SERVICES
LLC, VALLEYARM DIGITAL LIMITED, LENANDES LTD,

GIACOMO VERANI, and LIMITLESS INT.

 

 

 

 

 

 

 

RECORDINGS,
REGISTRATION NO. TITLE OF WORK AUTHOR OR WORK
| See Exhibit 1 for List of Works
2
3
4
5

 

 

 

 

 

In the above-entitled case, the following copyright(s) have been included:

 

DATE INCLUDED INCLUDED BY

[_] Amendment (_] Answer [_} Cross Bill (_] Other Pleading

 

COPYRIGHT Ss iT = SR
REGISTRATION NO. TITLE OF WORK AUTHOR OF WORK

 

 

 

 

 

 

 

In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.

 

 

COPY ATTACHED
C Order

C] Judgment

WRITTEN OPINION ATTACHED

| Yes CO No

DATE RENDERED

 

 

CLERK
William M McCool

 

 

DATE
1/24/2020

 

 

1) Upon initiation of action,
mail copy to Register of Copyrights

DISTRIBUTION:

4) In the event of an appeal, forward copy to Appellate Court

2) Upon filing of document adding copyright(s),
mail copy to Register of Copyrights

3) Upon termination of action,
mail copy to Register of Copyrights

5) Case File Copy

 
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EXHIBIT |
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Composition

Alabamy Bound

Alabamy Bound

Button Up Your Overcoat

Button Up Your Overcoat

Bye Bye Blackbird

If | Had a Talking Picture of You

If | Had a Talking Picture of You

If You Hadn't Gone Away

If You Hadn't Gone Away

I'm A Dreamer, Aren't We All

I'm on the Crest of a Wave

I'm on the Crest of a Wave

I'm Sitting on Top of the World

I'm Sitting on Top of the World

It All Depends on You

It All Depends on You

Just a Memory

Exhibit 1

List of Works

Authors

Ray Henderson, Bud DeSylva, Bud
Green

Ray Henderson, Bud DeSylva, Bud
Green

Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Mort Dixon

Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Lew Brown, Billy
Rose

Ray Henderson, Lew Brown, Billy
Rose

Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Sam Lewis, Joe
Young

Ray Henderson, Sam Lewis, Joe
Young

Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Bud DeSylva, Lew
Brown

Registration Number

E£604659

E605062

EP2063

EU1793

E£640638

EU7092

EP8016

E610897

£613224

EU8125

E694670

E£683936

E628004

£621512

E£651216

E650445

£665641
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Composition

Just a Memory

Life Is Just a Bowl of Cherries
Life Is Just a Bowl of Cherries

Lucky Day

Lucky In Love

Lucky In Love

Sonny Boy

Sonny Boy

The Best Things in Life Are Free

The Best Things in Life Are Free

The Thrill Is Gone
The Thrill ls Gone

The Varsity Drag

The Varsity Drag

Together

Together

Turn on the Heat

Turn on the Heat

Exhibit 1

List of Works

Authors

Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Lew Brown
Ray Henderson, Lew Brown

Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Bud DeSylva, Lew
Brown, Al Jolson

Ray Henderson, Bud DeSylva, Lew
Brown, Al Jolson

Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Lew Brown
Ray Henderson, Lew Brown

Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Bud DeSylva, Lew
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Ray Henderson, Bud DeSylva, Lew
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Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Bud DeSylva, Lew
Brown

Ray Henderson, Bud DeSylva, Lew
Brown

Registration Number

£658457

EU42179
EP24737

E642609

E670368

E670725

E696195

E699256

E670377

E670766

EU42567
EP24741

E670366

E670723

E679844

E664006

EU8126

EP8018
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Exhibit 1
# Composition Authors Registration Number
36 You're the Cream in My Coffee Ray Henderson, Bud DeSylva, Lew E699976
Brown
37 You're the Cream in My Coffee Ray Henderson, Bud DeSylva, Lew E704849

Brown
